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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

DAVID FLEURY and ALVIN TURNER                     )
individually and on behalf of a class of          )
similarly situated individuals,                   )
                                                  )
               Plaintiffs,                        )           Case No. 20-cv-00390
                                                  )
v.                                                )           Hon. LaShonda A. Hunt
                                                  )
UNION PACIFIC RAILROAD COMPANY,                   )           Magistrate Jeffrey Cole
a Delaware Corporation,                           )
                                                  )
               Defendant.                         )
                                                  )


                         DECLARATION OF THOMAS M. HANSON

       I, Thomas M. Hanson, hereby aver, pursuant to 28 U.S.C. § 1746, that I have personal

knowledge of all matters set forth herein unless otherwise indicated and would testify thereto if

called as a witness in this matter.

       1.      I am an adult over the age of 18 and a resident of the state of Texas. I am an

attorney at the law firm Loevy & Loevy. I am licensed to practice law in the Northern District of

Illinois. I am one of the attorneys representing Plaintiffs David Fleury and Alvin Turner in this

matter. I am fully competent to make this Declaration and do so in support of Plaintiffs’ Motion

for Reconsideration and for Leave to File Instanter (the “Motion”).

       2.      As the Court is aware, Plaintiffs had a significant briefing burden due on May 22,

2025: responding to Defendant’s motion for summary judgment, a reply brief in support of class

certification, and the filing of relevant Daubert motions. Co-counsel Brendan Duffner and I were

responsible for finalizing these documents prior to filing.




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         3.    In the weeks leading up to this deadline, Plaintiffs’ counsel had worked diligently

to complete this significant undertaking, and the research and drafting for Plaintiffs’ response

brief was complete by mid-afternoon on May 22, 2025.

         4.    In addition to responding to the 40 pages of argument and citation that Defendant

had included in its motion, however, the Court had also imposed upon Plaintiffs the obligation to

brief an argument that Defendant had not addressed; namely, that Defendant had waived any

defense pursuant to Section 25(e) of BIPA.

         5.    As the Court will recall from its review of Plaintiffs’ Motions to Bar, the issue is a

complex one that required not only extensive legal citation, but also citation to pleadings and

discovery responses stretching back to the earliest days of this litigation.

         6.    Moreover, at the May 14, 2025 hearing on Plaintiffs’ Motion to Bar, Defendant’s

counsel raised a merits argument based on Section 25(e) that had not even been raised in

Defendant’s motion for summary judgment; namely, that Plaintiffs could not establish BIPA’s

“private entity” element as a matter of law.

         7.    As a result of the inclusion of these arguments in Plaintiffs’ summary judgment

response, the response brief as drafted was 48 pages long. Thus, in the 15-18 hours prior to filing

on the morning of May 23, 2025, Mr. Duffner and I – in addition to finalizing the class

certification reply and a Daubert motion – were engaged solely in cutting a full 8 pages from the

brief.

         8.    Throughout the evening and into the night, as the brief was slowly ground down

to the Court’s page limit, citations needed to be continually updated to ensure that nothing

essential had been inadvertently omitted, which meant that Plaintiffs’ LR 56.1 Response and

Statement of Additional Material Facts was also in constant flux.




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       9.      As it happened, the effort was extensive and took longer than expected, but it was

diligent; I slept only about 45 minutes from 4:30 to 5:15 a.m. prior to filing, and co-counsel

Brendan Duffner did not sleep at all.

       10.     Prior to filing, we considered filing a motion for leave to file instanter with its

brief, and even had a draft prepared. However, given the Court’s comments at the December 19,

2025 hearing that it was “not concerned” with briefs that were filed a day late, as well as the

Court’s numerous admonitions to both Parties as to excessive filings in this case, Mr. Duffner

and I opted not to file the motion instanter.

       11.     I have the utmost respect for this Court and the deadlines it imposes, and certainly

do not hold such deadlines in blatant disregard. To the contrary, I carefully considered and

believed I was adhering to the Court’s prior comments with respect to deadlines and excessive

motion practice throughout the evening of May 22 and morning of May 23.

       12.     Given that Mr. Duffner and I were focused exclusively on cutting the Response

Brief down to size and then ensuring the citations, exhibits, and accompanying response to

Defendant’s LR 56.1 statement were correct and complete, I did not even look at Defendant’s

Response to Plaintiffs’ Partial Motion for Summary Judgment prior to filing Plaintiffs’ Response.

To my knowledge none of Plaintiffs’ counsel did so; if they did, they did not communicate it to

me, and nothing in Plaintiffs’ Response was changed, added or deleted based on anything

contained in Defendant’s Response.

       13.     With respect to the amicus brief filed in Payton v. Union Pacific Railroad Co.,

No. 24-cv-153 (N.D. Ill.), I specifically drafted footnote 12 to Plaintiffs’ Response with the

understanding that that the Court may not read or consider arguments made in the Payton brief

that had not been included in Plaintiffs’ Response. For this reason, I wanted to ensure that




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Plaintiffs reserved their right to rely on any such arguments should Defendant’s assertion of the

Section 25(e) affirmative defense survive summary judgment. Had I intended to incorporate the

entire Payton brief by reference, I would have done so.

       14.    On June 3, 2025, I was scheduled for a day-long medical procedure. I arrived at

the hospital for this procedure at 8:15 a.m., and was discharged at 5:45 p.m., and was unable to

do anything work-related during this time period.

       I declare under the penalty of perjury that the foregoing is true and correct.

       Executed in Grapevine, Texas on June 4, 2025

                                              /s/ Thomas M. Hanson




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